    Case 2:21-cr-00145-MWF Document 17 Filed 04/22/21 Page 1 of 2 Page ID #:36

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                                                                                     CLERK,U.3.DISTRICT COURT



                             UNITED STATES DISTRICT COURT                            Apri122, 2021
                            CENTRAL DISTRICT OF CALIFORNIA                        CENTRAL DLS~i7R~IC
                                                                                                  [,{ OF CALQ~'ORNIA
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                                  CRIMINAL MINUTES -GENERAL
  Case No. CR 21-145 MWF                                                Date     April 22,2021
  Title        United States v. Guerrero Hernandez



  Present: The Honorable Michael R. Wilner
                   Veronica Piper                                         n/a
                   Deputy Clerk                                 Court Reporter /Recorder
           Attorneys Present for Government:                 Attorneys Present for Defendant:
                         n/a                                               n/a
  Proceedings:           ORDER OF DETENTION

          The Court conducted a detention hearing on:
        ❑       The motion of the Government[18 U.S.C. § 31420(1)] in a case allegedly
 involving:
        ~      The motion of the Government or on the Court's own motion [18 U.S.C.
 § 3142(fj(2)] in a case allegedly involving: a serious risk that the defendant will flee.
        ❑      The Court concludes that the Government is entitled to a rebuttable presumption
 that no condition or combination of conditions will reasonably assure the defendant's
 appearance as required and the safety or any person or the community [18 U.S.C. § 3142(e)
(2-3)].
        ❑     The Court finds that the defendant ❑has ❑has not rebutted the presumption
 under 18 U.S.C. § 3142(e)(2-3) by sufficient evidence to the contrary.
                                               * **

          The Court finds that no condition or combination of conditions will reasonably assure:
                ~ the appearance of the defendant as required.
                 ❑ the safety of any person or the community.




 MRW-2(9/16)                           CRIMINAL MINUTES -GENERAL                                        Page 1 of2
    Case 2:21-cr-00145-MWF Document 17 Filed 04/22/21 Page 2 of 2 Page ID #:37



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                               CRIMINAL MINUTES -GENERAL
 Case No. CR 21-145 MWF                                                 Date    Apri122,2021
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         The Court bases its findings on the following [18 U.S.C. § 3142(g)]:
                ~     Nature and circumstances of offense charged
                ❑     Weight of known evidence against defendant
                ~     Lack of bail resources
                ❑     No stable residence, employment, or community ties
                ❑     Ties to foreign countries
                ❑     Substance abuse
                ❑     Nature of previous criminal convictions
                ❑     Previous failure to appear or violations of probation, parole, or release
                ❑
                D     Already in custody on state or federal offense
                ❑     Refusal to interview with Pretrial Services or verify information
                ❑     Unrebutted presumption [18 U.S.C. § 3142(e)(2-3)]



         ~     Defendant did not oppose the detention request.

       In reaching this decision, the Court considered:(a)the nature and circumstances ofthe
offenses) charged, including whether the offense is a crime of violence, a federal crime of
terrorism, or involves a minor victim or a controlled substance, firearm, explosive, or destructive
device;(b)the weight of evidence against the defendant;(c)the history and characteristics of the
defendant; and(d)the nature and seriousness ofthe danger to any person or the community.
[18 U.S.C. § 3142(g)] The Court also considered the evidence presented at the hearing, the
arguments of counsel, and the report and recommendation ofthe U.S. Pretrial Services Agency.
        IT IS THEREFORE ORDERED that the defendant be detained until trial. The defendant
will be committed to the custody of the Attorney General for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant will be afforded reasonable opportunity for
private consultation with counsel. On order of a Court ofthe United States or on request of any
attorney for the Government,the person in charge ofthe corrections facility in which defendant
is confined will deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding. [18 U.S.C. § 3142(1)]




MRW-2(9/16)                           CRIMINAL MINUTES -GENERAL                                Page 2 of2
